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                                                                           Dykema Gossett PLLC
                                                                           400 Renaissance Center
                                                                           Detroit, MI 48243
                                                                           WWW.DYKEMA.COM
                                                                           Tel: (313) 568-6800
                                                                           Fax: (313) 568-6893
                                                                           Grant P. Gilezan
                                                                           Direct Dial: (313) 568-6789
                                                                           Direct Fax: (855) 255-4351
                                                                           Email: GGilezan@dykema.com

  February 11, 2022

  Special Master Thomas P. Scrivo
  O’Toole Scrivo, LLC
  14 Village Park Road
  Cedar Grove, New Jersey 07009
  tscrivo@oslaw.com

  Re: Occidental Chemical Corp. v. 21st Century Fox Am., Inc., et al.
      United States District Court, District of New Jersey
      Civil Action No. 2:18-cv-11273

  Dear Special Master Scrivo:

  Please accept this letter on behalf of Third-Party Defendant Passaic Valley Sewerage Commissioners,
  with support by all other Third-Party Defendants in this case (collectively “TPDs”).

  This letter identifies topics for further discussion during the February 16, 2022 status conference.

  TOPIC #1: Deposition Schedule

  The TPDs maintain their position that all depositions should be paused while the joint motion to stay is
  pending before the Court. In the event, however, all depositions are not paused, the TPDs believe it is
  critical that depositions not begin before May 31.1

  On February 4, the Primary Defendants and the TPDs submitted a joint letter attaching a proposed
  timeline for the necessary predicates to depositions to occur. (Dkt. 1969). Specific to TPDs:

      •   The Primary Defendants and OxyChem began exchanging documents in this case in March
          2019. In the two and a half years since that time, the parties have produced over three million
          unique documents. To facilitate and expedite the production and review of these documents, the
          TPDs requested the formation of a global document repository. OxyChem refused.

      •   After several months of OxyChem-caused delay, in December 2021, the Small Parties Group
          (“SPG”) and the TPDs began working to finalize the terms and mechanics for a shared database,
          which should be finished shortly.




  1On January 31, the Primary and Third-Party Defendants jointly filed a response to OxyChem’s January
  21, 2022 letter opposing the Moving Parties’ Motion for Leave to File their Motion for a Stay of
  Proceedings. (Dkt. 1962). The parties are still awaiting a decision from the Court.

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      •   The TPDs will need a reasonable opportunity to review the millions of documents produced in this
          case. Working very diligently, this could be completed in 60 to 90 days, by the end of April or
          May.

      •   The TPDs will also need an opportunity to prepare, serve, and receive responses to their own
          written discovery requests, followed by review of any responses and productions. The TPDs
          could be ready to begin serving such requests by the end of February, with a deadline for
          responding at the end of March, and a goal of completing such discovery by the end of May.

  The TPDs recently submitted a letter requesting that the Court avoid imposing potentially unnecessary
  burdens on the TPDs given their public entity status, and noting that OxyChem’s proposed deposition
  schedule creates an unacceptable risk that the TPDs could incur significant costs preparing for
  depositions later deemed to be unnecessary by the Court’s decision on the motion to stay. (Dkt. 1971).
  For example, as discussed below, it is estimated that the TPDs will need to incur $26,000 to $32,000 in
  costs merely for the initial setup of the shared document database with the SPG that will allow them to
  access documents produced in the case thus far.

  OxyChem remains indifferent to whether resources are wasted or the parties are properly prepared for
  depositions, insisting that depositions begin in March and ramp up significantly in April. In sum, the TPDs
  believe all discovery should be held in abeyance pending the decision on the motion for stay, but if not, at
  the very least, the schedule proposed by the TPDs and the SPG should be adopted.

  TOPIC #2: Deposition Protocol Amendments

  The parties are working on amendments to the original deposition protocol, as well as a supplemental
  remote deposition protocol. The primary unresolved issue is how many fact witness depositions the TPDs
  should be entitled to take. The original protocol provided that OxyChem and the Primary Defendants were
  allowed 40 depositions each. The TPDs believe they too should be entitled to 40, such that parties on each
  side of the “v” are entitled to the same number. OxyChem disagrees, claiming that the TPDs should only
  be entitled to 15, and that OxyChem should be entitled to 55 (to make its number “reciprocal” to the total
  number allowed by both the TPDs and Primary Defendants). OxyChem has yet to explain why the TPDs
  should be provided such a smaller allocation than OxyChem and the Primary Defendants.

  TOPIC #3: Shared Document Database

  The TPDs have received digital copies of existing document productions from other parties. This enormous
  discovery covers many decades of activity by the numerous corporate parties in this case. For example,
  OxyChem’s productions alone constituted over 2 million documents (10 million pages) and more than 5
  terabytes of data. It took over 80 hours for our electronic discovery team to simply transfer the data from
  the external hard drive provided by OxyChem to another hard drive. And then there are the previous
  document productions shared by the primary defendants, and the fact that both OxyChem and the primary
  defendants continue to make additional document productions. With a few exceptions, the TPDs do not
  have the means to process the initial transfer of such a large quantity of digital data. Moreover, it is
  important to understand that possessing the production material in raw digital form does not enable the
  review of the documents. Rather, that requires a database for hosting the produced material.

  As explained previously, OxyChem offered the TPDs access to its document database, but the TPDs did
  not view the offer to be in good faith, as OxyChem’s proposal would impose significant costs on the
  TPDs, and it would not account for basic functions like exporting a document from the database (which
  would be necessary to participate in depositions).


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  Separately, the SPG offered the TPDs access to its database through a more cost-effective (yet still
  substantial) arrangement that the TPDs believe will serve their functionality needs. The TPDs have
  requested a proposed service agreement from SPG’s vendor, which must be finalized before the TPDs
  can access documents. The prices proposed by the vendor include approximately $26,000 to $32,000 for
  the initial setup and access to the database. Additionally, there will be tens of thousands of dollars per
  month in hosting costs merely to keep the documents in a platform where they can be reviewed. These
  are some of the document management costs at risk of being wasted if depositions proceed prior to the
  Court’s decision on the motion to stay, without considering marking, processing, downloading and
  reviewing costs associated with properly preparing for depositions.

  Thank you for your attention to and consideration of these positions.

  Sincerely,

  DYKEMA GOSSETT PLLC




  Grant P. Gilezan
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